Case 8:21-bk-10525-ES   Doc 133-4 Filed 05/20/21 Entered 05/20/21 15:28:18   Desc
                              Exhibit D Page 1 of 5




                          EXHIBIT “D”
Case 8:21-bk-10525-ES          Doc 133-4 Filed 05/20/21 Entered 05/20/21 15:28:18                Desc
                                     Exhibit D Page 2 of 5




                                                                        Office of the City Attorney
May 14, 2021

VIA OVERNIGHT DELIVERY
AND EMAIL

Mr. Donald Chae
Mr. Min Chae
The Source at Beach, LLC
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RE:    NOTICE OF INTENT TO WITHHOLD FINANCIAL ASSISTANCE PAYMENTS
       TO THE SOURCE AT BEACH LLC; RESERVATION OF RIGHTS

Property:      6986 Beach Boulevard, Buena Park, California.
Project:       The Source at Beach; The Source Hotel Project
Agreement:     Disposition and Developer Agreement

Dear Messrs. Donald and Min Chae:

This office serves as City Attorney for the City of Buena Park (“City”), and by this correspondence
provides notice of the City’s intent to take action to protect its interests in the above-identified
Property and Project, and to demand that the concerns raised in this letter be expeditiously remediated
to the City’s reasonable satisfaction.
                                                                                        EXHIBIT D
                                                                                        PAGE 170
Case 8:21-bk-10525-ES              Doc 133-4 Filed 05/20/21 Entered 05/20/21 15:28:18                             Desc
                                         Exhibit D Page 3 of 5
Mr. Donald Chae
Mr. Min Chae
May 14, 2021
Page | 2


As you know the Source Hotel Project (or simply “Hotel Project”) is part of the larger mixed-use
project known as “The Source” (jointly the “Project”) that is located at 6986 Beach Boulevard, Buena
Park, California (the “Property”). The Project and the Property are both governed by a series of
agreements with the City or the former Community Redevelopment Agency of the City of Buena
Park (“Former RDA”), the most notable of which is that certain Disposition and Development
Agreement (“DDA”) dated October 26, 2010, by and between the Former RDA and The Source at
Beach, LLC (“Developer”).1

As relevant here, the DDA required Developer to proceed with construction and operation of the
Project, which was required to include a high-quality (Mobil 3-5 Star or AAA 2-5 Diamond-voted)
full-service Hotel Project. To support and incentivize completion of the Project, the Former RDA
agreed to provide two (2) forms of financial assistance to Developer that are memorialized in the
DDA: (1) a portion of the increased property tax revenues resulting from reassessment of the Property
following completion of the Project (also known as “tax increment” revenues); and (2) a portion of
sales tax revenues generated by The Source (jointly “Financial Assistance”). The DDA directs the
property tax payments to be remitted to Developer annually for the next decade; with the sales tax
assistance lasting even longer.

However over recent weeks, the City (which now also serves as “successor agency” to the Former
RDA)2 has learned of events that justify early termination of this Financial Assistance; and in fact the
DDA altogether. Specifically:

    •    Secured lender for the Hotel Project, Shady Bird Lending LLC (“Lender”), filed an action in
         state court (Shady Bird Lending, LLC v. The Source Hotel, LLC; Orange County Superior
         Court Case No. 30-2021-01183489-CU-OR-CJC) against Developer’s assignee and lessor of
         the Hotel Project, The Source Hotel LLC (“Hotel LLC). This state court action seeking
         appointment of a receiver and waste in relation to the Hotel Project, and on February 17, 2021,
         the court ordered the appointment of a receiver (the “Receiver”) whom remains in place as of
         the date of this letter.

    •    On February 26, 2021, the Hotel LLC filed a Chapter 11 Voluntary Bankruptcy Petition (the
         “Bankruptcy Petition”) (United States District Court – Central District of California; Case No.
         8:21-bk-10525-ES) to avoid the Lender’s scheduled foreclosure on the Hotel Project, and as
         of the date of this letter this action remains pending.

Please be advised that appointment of the Receiver, the filing and pendency of the Bankruptcy
Petition, and any foreclosure by the Lender are all “Defaults” under the DDA giving rise to the City’s
right to terminate both the Financial Payments and the DDA. Key sections of the DDA include the
following:



1
  The DDA is recorded on the Property via a Memorandum thereof dated September 4, 2012 (Instrument No.
2012000530409 in the Official Records of Orange County).
2
  All redevelopment agencies in California were dissolved by the Legislature in February 2012, and the City as “successor
agency” to the Former RDA now manages its rights and affairs. (See Health & Safety Code section 34170 et seq.)
                                                                                                        EXHIBIT D
                                                                                                        PAGE 171
Case 8:21-bk-10525-ES         Doc 133-4 Filed 05/20/21 Entered 05/20/21 15:28:18                  Desc
                                    Exhibit D Page 4 of 5
Mr. Donald Chae
Mr. Min Chae
May 14, 2021
Page | 3


   •   Section 7.1.6 defines “Defaults” of the DDA as including: “Filing of a petition in bankruptcy
       by or against any Party or appointment of a receiver or trustee of any property of any Party,
       or an assignment by any Party for the benefit of creditors, or adjudication that such Party is
       insolvent by a court, and in the case of a filing against a Partner, the failure of such Party to
       cause the applicable petition, appointment, or assignment to be removed or discharged within
       one hundred and twenty (120) days.”

   •   Section 4.5 states: “The Agency’s [now the Successor Agency’s] obligation to make payments
       of the [Financial Assistance] to Developer shall terminate upon…a Default by Developer
       under Section 7.1…”

   •   Section 7.2 states in relevant part that “the Agency and the City shall…have the right to
       terminate this Agreement in the event of Default by Developer.”

In light of the Receiver and Bankruptcy Petition, and given the unknown future of the Project and
Property or Developer’s continued involvement therewith, and the clear language of the DDA quoted
above, the City hereby provides notice that it intends to withhold all future Financial Assistance
payments that otherwise might be paid Developer under the DDA unless and until: (a) Developer
cures these defaults and proceeds with construction of the Hotel Project to the City’s reasonable
satisfaction, in which case the withheld and future Financial Assistance payments might be
released on terms acceptable to the City; or (b) the City declares formal default of the DDA and
terminates the Financial Assistance, in which case neither the withheld nor future payments will
be remitted to Developer. The Financial Assistance payments will be held in an interest-bearing
escrow account established and managed by the City pending a decision on if / how such funds will
be remitted.

The City understands that Developer and Hotel LLC are working to identify financing to complete
the Hotel Project (which has remained partially constructed for the past two (2) years), and ultimately
hopes to restructure existing debt, complete construction, and proceed with operating the Hotel
Project as required by the DDA. But unless and until the City is assured that the Hotel Project will be
completed and operated as required, either by a Developer or a third-party approved in the City’s
discretion, the public interest demands that the City withhold the Financial Assistance payments.

Additionally, the City expressly reserves its rights to declare default and terminate the DDA or any
other agreements relating to the Property or Project, and to otherwise seek to enforce its rights
thereunder. Given the City’s investment and recorded interests in the Project and Property, the City
will continue to actively monitor the pending legal proceedings, and recommends that Developer and
other interested parties keep the City apprised of their activities and intentions moving forward should
they desire the DDA and Financial Assistance to remain in place.




                                                                                         EXHIBIT D
                                                                                         PAGE 172
Case 8:21-bk-10525-ES   Doc 133-4 Filed 05/20/21 Entered 05/20/21 15:28:18   Desc
                              Exhibit D Page 5 of 5




                                                                     EXHIBIT D
                                                                     PAGE 173
